        Case 23-12792-pmm                       Doc      Filed 07/05/24 Entered 07/05/24 12:54:43                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1              Mark J Hill
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number            23-12792
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Citizens Bank N.A.
 Name of creditor: _______________________________________                                                        1
                                                                                     Court claim no. (if known): ____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           6 ____
                                                         ____ 6 ____
                                                                  1 ____
                                                                      7              Must be at least 21 days after date       07/26/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                        $ ___3,043.01____
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      ✔ No
      
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
      ✔ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
      
                   (Court approval may be required before the payment change can take effect.)

                                          Computation
                       Reason for change: _______       of monthly
                                                  ____________      payment____
                                                               _____________ in _________
                                                                                accordance____with the credit
                                                                                              _________       agreement.
                                                                                                        _____________ ____________

                                                         3,149.83
                       Current mortgage payment: $ ____________ ___                New mortgage payment: $ ____3,043.01_______


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
      Case 23-12792-pmm                              Doc          Filed 07/05/24 Entered 07/05/24 12:54:43                           Desc Main
                                                                  Document      Page 2 of 4

Debtor 1         Mark   J Hill
                 _______________________________________________________                                           23-12792
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/: Abby Rogan
     _____________________________________________________________
     Signature
                                                                                               Date    07/05/2024
                                                                                                       ___________________




 Print:             Abby                                     Rogan
                    _________________________________________________________                  Title   Bankruptcy   Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Citizens Bank N.A
                    _________________________________________________________



 Address            One Citizens Bank Way JCA115
                    _________________________________________________________
                    Number                 Street

                    Johnston RI, 02919
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      1-888-492-1234
                    ________________________                                                   Email




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
 Case 23-12792-pmm           Doc    Filed 07/05/24 Entered 07/05/24 12:54:43               Desc Main
                                    Document      Page 3 of 4



                                       



         F%':?0*EF?/#?F#F%78DF7)F?/'F+:'.706.F       C#=F=';B'&F76F

  @/(F ,337C06.F9#:?1'=FB0#F  F7;F*2:=?F%3#>>FF5#03F87>?#.'F8;(9#0&F#=F-347C= F


   -)#(!%,º!º#)")+                               +%..%4(º%º7%34
     ??7;6'DF+:F'$@7:=F                           /#9?';F F;A=?''F
   '<B'&FB0#F  F                              ';B'&FB1#F  F
   /'38 %0$0K3#C%75


   -ARKº*OHNº(ILL
   F+06.=@76F&
   '&0#F F
       
   F'$?7:=F
 *ULYº º
________________________________________________________________________________
Page: 1 Document Name: untitled
 AMB3     Case 07/05/24
               23-12792-pmm BILL
                             Doc HIST   INQUIRY Entered
                                  Filed 07/05/24  - DETAIL 07/05/2408:22:55   PAGE
                                                                    12:54:43 Desc Main1 OF 1
 CUR                              Document      Page 4 of 4
 CTL2 060 CTL3 000 CTL4 0000                      6617 HILL MARK J
 DUE DATE 07/26/24 DEFN B99 PMT HOLIDAY CODE N PRINT BILL HISTORY RECORD N
 BILL DATE 07/03/24      BEG DATE 06/26/24     CURRENT DUE                   3,083.01
                                               CURRENT PAYOFF              481,674.09
 FINANCIAL ID AND AMOUNT STATUS                 SCHEDULED AMOUNT           ACTUAL AMOUNT
 INT 01 C INTEREST                                      3,043.01                3,043.01
 FAF 00 C ANNUAL FEE
 LTC 00 C LATE CHARGE                                       40.00                    40.00
 PRI 01 C PRINCIPAL
           TOTAL CURRENT DUE                             3,083.01                3,083.01
           TOTAL DUE                                     3,083.01                3,083.01




 PF1-NEXT   PF2-NEXT PAGE    PF3-SUMMARY

________________________________________________________________________________
Date: 07-05-2024 Time: 08:23:23.40
